      Case 1:23-cv-13197-BEM           Document 89       Filed 06/02/25     Page 1 of 21




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
MICHAEL D. WARREN,                     )
                                       )
            Plaintiff,                 )
                                       )                   Civil Action No.
      v.                               )                   23-13197-BEM
                                       )
ZAPATA COMPUTING, INC., et al.,        )
                                       )
            Defendants.                )
_______________________________________)

                           MEMORANDUM AND ORDER ON
                         MOTIONS FOR SUMMARY JUDGMENT

MURPHY, J.

       This is an action involving employee claims for unpaid wages. Plaintiff Michael Warren

has brought this action against his former employer, Zapata Computing, Inc. (“Zapata”); Zapata’s

former Chief Executive Officer, Christopher Savoie; and its former Chief Financial Officer,

Mimi Flanagan (together with Savoie, “the Individual Defendants”), asserting violations of the

Massachusetts Wage Act (the “Wage Act”), Mass. Gen. Laws ch. 149, §§ 148 and 150; unjust

enrichment; quantum meruit; breach of contract; and breach of the implied covenant of good faith

and fair dealing. Zapata has counterclaimed, asserting claims for breach of contract. Both Warren

and Zapata also seek declaratory relief.

       Warren has now moved for summary judgment on his Wage Act claim and on Zapata’s

breach of contract counterclaims. Collectively, the Individual Defendants and Zapata have moved

for summary judgment on all claims asserted against them. For the reasons set forth below,

Warren’s motion for summary judgment will be granted in part and denied in part; the Individual
       Case 1:23-cv-13197-BEM             Document 89         Filed 06/02/25       Page 2 of 21




Defendants’ motion for summary judgment will be granted in part and denied in part; and Zapata’s

motion for summary judgment will be granted in part and denied in part.

I.      Background

        A.      Factual Background

        The following facts appear to be undisputed.

        Christopher Savoie was the Chairman and CEO of Zapata for the entirety of Michael

Warren’s employment by Zapata. Dkt. 80 ¶ 2. Mimi Flanagan was Zapata’s CFO between

October 2021 and May 2024. Dkt. 77 ¶ 4.

        Zapata hired Warren in April 2018 to lead its sales efforts. Id. ¶ 5. In connection with the

start of his employment with Zapata, Warren executed Zapata’s Non-Disclosure, Non-Competition

and Assignment of Intellectual Property Agreement (“NDNCA”). Id. ¶ 6. The NDNCA contains

non-competition and non-solicitation provisions in effect for a period of twelve months following

the termination of Warren’s association with Zapata. Id. ¶ 7.

        Warren and Zapata began discussing a formal commission structure in late 2021. Dkt. 80

¶ 8.

        On February 10, 2022, Zapata closed a deal with Andretti. Dkt. 77 ¶ 34.

        On February 15, 2022, Warren and Zapata executed a document titled “Zapata Computing,

Inc. 2021 Compensation Plan for Michael Warren” (the “2021 Plan”). Id. ¶ 10. 1

        On February 28, 2022, Zapata entered into a contract with DARPA for a deal that will be

referred to as “DARPA TAII.” Dkt. 80 ¶ 19.




       1
         For purposes of summary judgment, Warren does not dispute that the 2021 Plan is not the operative
commission plan. See Dkt. 74 at 5 n.2.



                                                    2
       Case 1:23-cv-13197-BEM           Document 89        Filed 06/02/25       Page 3 of 21




       On March 7, 2022, Warren signed a document titled “2022 Compensation Plan Employee:

Michael Warren” (the “March 2022 Plan”). Dkt. 77 ¶ 16. The March 2022 Plan states that it is

“for the calendar year 2022 for Zapata Computing, Inc. – which starts January 1st, 2022 and ends

December 31st, 2022.” Id. ¶ 17. The March 2022 Plan further states: “Commissions for the below

identified contracts that were initiated in 2021 but are expected to close in 2022, will be calculated

using 2021 commission plan rates. These deals must close in the calendar year 2022 to be eligible

for the grandfathered rates.” Id. ¶ 18. Among the deals listed in the March 2022 Plan were

DARPA TAI, DARPA TAII, and Andretti. Id. ¶ 19. The March 2022 Plan states: “Your

commissions will be paid in the last payroll of the month following payment from the client. The

amount of commission distributed in any given payroll will be calculated based on the amount

paid by the client.” Id. ¶ 20. The March 2022 Plan provides that “Zapata Computing Inc. expressly

reserves the right to change, modify, or delete the provisions herein, with written notice.” Id. ¶ 21.

       On April 1, 2022, Zapata’s Vice President of Corporate Operations, Greg Ramsay, sent

Warren an email that stated, “Here is the updated commission plan for signature. The update is in

the last paragraph and states: You must be employed by Zapata Computing or an affiliate to be

eligible for commission payments.” Id. ¶ 22. Warren and Ramsay thereafter exchanged multiple

emails and versions of the document. See generally id. ¶¶ 23–30. The updated commission plan

(“April 2022 Plan”) was never signed, and the parties sharply dispute whether it had been finalized.

See, e.g., Dkt. 80 ¶ 35.

       In April 2022, Zapata closed a deal, DARPA TAI. Dkt. 77 ¶ 40.

       On September 27, 2022, Flanagan sent Warren a spreadsheet titled “payments due Michael

Warren.” Dkt. 80 ¶ 54. The document indicates that it was last updated by Flanagan on




                                                  3
       Case 1:23-cv-13197-BEM                Document 89          Filed 06/02/25        Page 4 of 21




September 26, 2022, and credits Warren with having booked four deals, including, as relevant

here, Andretti, DARPA TAI, and DARPA TAII. Id. ¶ 55. 2

        Warren’s employment with Zapata ended effective September 30, 2022. Dkt. 77 ¶ 58.

        Warren and Zapata thereafter entered into a Separation Agreement, which Warren signed

on October 6, 2022. Id. ¶ 59. The Separation Agreement states:

        You acknowledge and understand that, except for a lump sum payment of $42,292,
        equal to three (3) months of base salary and three (3) months of COBRA premiums,
        the commissions already earned and the specific financial consideration and other
        benefits contained in this Agreement, you are not entitled to and shall not receive
        any additional compensation, consideration or benefits from the Company.
        Commissions will continue to be paid in the last payroll of the month following
        payment from the customer.

Id. ¶ 60.

        That same day, Warren executed a Consulting Agreement, which was Exhibit A to the

Separation Agreement. Id. ¶ 65. The Consulting Agreement states: “During the Consultation

Period . . . and for a period of six (6) months thereafter, the Consultant shall not engage in any

activity that has a conflict of interest with the Company.” Id. ¶ 66. The Consulting Agreement

also states: “This Agreement shall commence on the date hereof and shall continue for twelve (12)

months from the effective date of this agreement, unless sooner terminated in accordance with the

provisions of Section 4 herein or extended by mutual agreement of the parties.” Id. ¶ 67. The

Consulting Agreement further provides:

        This Agreement may be terminated in the following manner: (a) by either party
        upon written notice to the other party. . . . In the event of termination, the Consultant
        shall be entitled to payment for services performed and . . . for expenses paid or
        incurred prior to the effective date of termination that have not been previously
        paid.


        2
          Zapata asserts that the spreadsheet was not for calculation of Warren’s commissions, but rather was for
accounting purposes only. Dkt. 80 ¶ 54.




                                                       4
      Case 1:23-cv-13197-BEM           Document 89        Filed 06/02/25      Page 5 of 21




Dkt. 77 ¶ 68. Warren provided consulting services under the Consulting Agreement, and Zapata

paid Warren $2,000 per month under the Consulting Agreement from October 2022 to

January 2023. Id. ¶¶ 72–73.

       On January 18, 2023, Savoie received an email from a third-party background check

company requesting information about Warren in connection with his potential employment by

Q-CTRL. Dkt. 80 ¶ 69. Zapata did not file for any kind of injunctive relief against Warren or

Q-CTRL, id. ¶ 72, nor did it send either Warren or Q-CTRL any email expressing any concern

about Warren’s prospective employment, id. ¶ 73.

       On or around February 1, 2023, Warren was hired by Q-CTRL. See Dkt. 77 ¶¶ 74–75.

       On February 2, 2023, Zapata sent Warren a written notice terminating the Consulting

Agreement. Id. ¶ 76. Zapata proceeded to cancel Warren’s stock options, and thereafter ceased

making his commission payments due to his purported breach of the Consulting Agreement and

Separation Agreement. Dkt. 80 ¶ 76.

       Zapata paid Warren payments for Andretti and Phase 1 of DARPA TAI and TAII from

October 2022 through January 31, 2023. Dkt. 77 ¶ 73. Zapata did not pay Warren any further

payments after February 2, 2023. Id. ¶ 77.

       On September 5, 2023, Warren received, through his attorney, a right-to-sue letter from the

Fair Labor Division of the Office of the Massachusetts Attorney General. Dkt. 74-33 at 2.

       Zapata ceased operations in October 2024. Dkt. 77 ¶ 2.

       B.      Procedural Background

       Warren initiated this action in December 2023. As amended, the complaint asserts six

claims: against all Defendants, violations of the Wage Act, Mass. Gen. Laws ch. 149, §§ 148 and

150 (Count 1), unjust enrichment (Count 3), and quantum meruit (Count 4); and against Zapata

only, breach of contract (Count 2) and breach of the implied covenant of good faith and fair dealing


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       Case 1:23-cv-13197-BEM                Document 89           Filed 06/02/25         Page 6 of 21




(Count 5). The complaint also seeks a declaration that Zapata’s failure to comply with the

Massachusetts Noncompetition Agreement Act renders void the restrictive covenants set forth in

the Consulting Agreement, and that Warren is thereafter not bound by any restrictive covenant

with respect to Zapata (Count 6).

        Following Defendants’ unsuccessful motion to dismiss Count 1 of the Amended

Complaint, Zapata brought a counterclaim against Warren. The Counterclaim asserts claims for

breach of contract arising out of Warren’s alleged breach of his noncompetition and

non-solicitation obligations under the NDNCA (Counterclaims 1 and 2); the conflict-of-interest

provisions of the Consulting Agreement (Counterclaim 3); and the Separation Agreement

(Counterclaim 7). The Counterclaim also seeks a declaration that commissions are not wages and

are not owed (Counterclaim 4); a declaration that any vesting of options ended on

February 2, 2023, and all options terminated on that date (Counterclaim 5); and a declaration that

unpaid consulting fees are not wages and are not owed (Counterclaim 6).

        All parties have now moved for summary judgment. Warren has moved for summary

judgment on his Wage Act claim (Count 1), and on Zapata’s breach of contract counterclaims

against him (Counterclaims 1 through 3 and 7). Collectively, Defendants have moved for

summary judgment on all claims against them. 3

II.     Standard of Review

        The role of summary judgment is “to pierce the pleadings and to assess the proof in order

to see whether there is a genuine need for trial.” Mesnick v. Gen. Elec. Co., 950 F.2d 816, 822 (1st



        3
           The Individual Defendants filed their motion for summary judgment together, Dkt. 66, and Zapata filed a
separate motion for summary judgment, Dkt. 68, in which it “join[ed] and incorporate[ed] the factual assertions and
arguments made by Mimi Flanagan and Christopher Savoie . . . as to Plaintiff Michael Warren’s arguments under the
Wage Act, M.G.L. c. 149, § 148, for unjust enrichment, and quantum meruit.” Dkt. 68 at 1. Accordingly, the Court
will at times refer collectively, for simplicity, to the arguments of “Defendants.”



                                                        6
      Case 1:23-cv-13197-BEM           Document 89        Filed 06/02/25      Page 7 of 21




Cir. 1991) (quoting Garside v. Osco Drug, Inc., 895 F.2d 46, 50 (1st Cir. 1990)). Summary

judgment is appropriate when “there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “A ‘genuine’ issue is one that

must be decided at trial because the evidence, viewed in the light most flattering to the nonmovant,

would permit a rational factfinder to resolve the issue in favor of either party.” Medina-Munoz v.

R.J. Reynolds Tobacco Co., 896 F.2d 5, 8 (1st Cir. 1990) (citation omitted). Courts “must consider

the record and the reasonable inferences drawn therefrom in the light most favorable to the

nonmovant” but “need not credit ‘conclusory allegations, improbable inferences, and unsupported

speculation.’” Dixon-Tribou v. McDonough, 86 F.4th 453, 458 (1st Cir. 2023) (quoting Lahens v.

AT&T Mobility P.R., Inc., 28 F.4th 325, 333 (1st Cir. 2022)). The nonmoving party cannot “rest

upon mere allegation or denials,” but must instead “present affirmative evidence.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 256–57 (1986).

       The same standard for summary judgment applies when, as here, parties have filed

cross-motions for summary judgment. Sec. & Exch. Comm’n v. Navellier & Assocs., Inc., 108

F.4th 19, 34 (1st Cir. 2024); see also Meuse v. Nat’l P.I. Servs., LLC, 2024 WL 4190081, at *4

(D. Mass. Sept. 13, 2024) (“When a court faces cross motions for summary judgment, it applies

the above analysis, unaltered, ‘to each motion in turn.’” (quoting Wilkinson v. Chao, 292 F. Supp.

2d 288, 291 (D.N.H. 2003))).




                                                 7
       Case 1:23-cv-13197-BEM                Document 89          Filed 06/02/25         Page 8 of 21




III.    Analysis

        A.       Plaintiff’s Claims

                 1.       Wage Act Claim (Count 1)

        All parties have moved for summary judgment on Plaintiff’s Wage Act claim. Before

considering each motion separately under the appropriate standard of review, the Court will

discuss the legal framework governing claims for unpaid commissions under the Wage Act. 4

                          a.       Background Concerning the Wage Act and Commissions

        The Massachusetts Wage Act “requires ‘[e]very person having employees in his service’

to pay ‘each such employee the wages earned’ within a fixed period after the end of each pay

period.” Lipsitt v. Plaud, 466 Mass. 240, 244 (2013) (alteration in original) (quoting Mass. Gen.

Laws ch. 149, § 148). “To state a claim under the Massachusetts Wage Act, Mass. Gen. Laws

ch. 149, § 148, a plaintiff must allege that (1) he was an employee under the statute, (2) his form

of compensation constitutes a wage under the statute, and (3) the defendants violated the Act by

not paying his wages in a timely manner.” Klauber v. VMware, Inc., 599 F. Supp. 3d 34, 46

(D. Mass. 2022), aff’d, 80 F.4th 1 (1st Cir. 2023).

        The Wage Act applies to “post-termination renumeration, such as commissions, in certain

circumstances.” Dodge v. Mevion Med. Sys., Inc., 575 F. Supp. 3d 236, 241 (D. Mass. 2021). That

is, “[w]here an employee has already done the work to earn a commission prior to their resignation

[or termination], . . . the Wage Act requires the payment of that commission, even if calculating

the exact amount would take some time.” See Rivard v. NICE Sys., Inc., 2023 WL 5959305, at *6

(D. Mass. Sept. 13, 2023). “While the statute does not itself define ‘earn,’ the Supreme Judicial



        4
          The Court will address the motions of the Individual Defendants and Zapata together, as Zapata “join[ed]
and incorporat[ed] the Individual Defendants’ arguments regarding Plaintiff’s claims under the Wage Act.” Dkt. 69
at 3.



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        Case 1:23-cv-13197-BEM                 Document 89           Filed 06/02/25         Page 9 of 21




Court of Massachusetts . . . has adopted the ‘plain and ordinary meaning’ of the term.” Austin v.

Ken’s Foods, Inc., 2025 WL 889438, at *5 (D. Mass. Mar. 21, 2025) (quoting Awuah v. Coverall

N. Am., Inc., 460 Mass. 484, 492 (2011)). Accordingly, “[w]here an employee has completed the

labor, service, or performance required of him, . . . according to common parlance and

understanding he has ‘earned’ his wage.” Awuah, 460 Mass. at 492.

         “Commissions qualify as wages under the statute ‘when the amount of such commissions,

less allowable or authorized deductions, has been definitely determined and has become due and

payable to such employee.’” Klauber, 599 F. Supp. 3d at 46 (quoting Mass. Gen. Laws ch. 149,

§ 148). 5 “[A] commission is definitely determined or arithmetically determinable—and thus

covered by the Wage Act—if it is ‘capable of being precisely ascertained.’” Ellicott v. Am. Cap.

Energy, Inc., 2016 WL 7799635, at *4 (D. Mass. Apr. 28, 2016) (quoting Micciche v. N.R.I. Data

& Bus. Prods., Inc., 2011 WL 4479849, at *7 (D. Mass. Sept. 27, 2011)). “Commissions are ‘due

and payable’ only if any contingencies relating to their entitlement have occurred.” Klauber, 599

F. Supp. 3d at 46. “When a compensation plan specifically sets out the contingencies an employee

must meet to earn a commission, courts apply the terms of the plan.” McAleer v. Prudential Ins.

Co. of Am., 928 F. Supp. 2d 280, 289 (D. Mass. 2013). “[H]owever, when the plan does not

specify, courts generally consider that the employee earns the commission and it becomes due and

payable when the employee closes the sale, even if there is a delay in actual payment on the sale.”

Id. (citing cases).




         5
            While “the failure to pay commissions when they are definitely determined and due and payable is one way
to violate the act,” the Massachusetts Supreme Judicial Court has “not announce[d] a categorical rule that commissions
that do not meet those conditions are considered not to be wages under the act.” Parker v. EnerNOC, Inc., 484 Mass.
128, 135 (2020) (emphasis in original).



                                                          9
         Case 1:23-cv-13197-BEM              Document 89           Filed 06/02/25          Page 10 of 21




          Finally, the Wage Act “forbids ‘special contracts’ between an employer and employee that

purport to exempt the employer from the requirements of the act.” Parker v. EnerNOC, Inc., 484

Mass. 128, 133 (2020).

                          b.       Defendants’ Motion

          Defendants contend that Plaintiff’s Wage Act claim fails because he was not an

“employee” as defined by the Wage Act, and because any payments were not definitely

determined, due, or payable as of the time of his separation from employment. 6

                                   i.       Whether the April 2022 Plan Applies

          At the outset, the Court considers Defendants’ argument that the April 2022 Plan—which

required continued employment to be eligible for commission payments—applies to the deals at

issue.

          Under Massachusetts law, “‘[t]he controlling fact’ for the purpose of determining whether

a contract exists ‘is the intention of the parties.’” Astellas Inst. for Regenerative Med. v. ImStem

Biotechnology, Inc., 458 F. Supp. 3d 95, 109 (D. Mass. 2020) (quoting McCarthy v. Tobin, 429

Mass. 84, 87 (1999)). “[S]o long as the evidence does not point unerringly in a single direction

but is capable of supporting conflicting inferences, the question of whether a contract has been

formed between two parties is a question of fact to be determined by the factfinder.” Id. (alteration

in original) (quoting Crellin Techs., Inc. v. Equipmentlease Corp., 18 F.3d 1, 7 (1st Cir. 1994)).




        6
          Defendants also argued that Plaintiff failed to file his claim with the Attorney General, Dkt. 67 at 13–14,
but conceded at oral argument that they have since abandoned that argument.



                                                        10
       Case 1:23-cv-13197-BEM                 Document 89            Filed 06/02/25         Page 11 of 21




         Here, the parties sharply dispute whether the April 2022 Plan had been finalized, and given

that “the evidence does not point unerringly in a single direction,” that issue—whether a new

contract had been entered into—is a question of fact to be determined by the factfinder. 7

                                    ii.      Whether Plaintiff Was an Employee Under the Statute

         Defendants argue that Plaintiff cannot state a claim under the Wage Act because he was

not an “employee” at the time commission payments were allegedly due, as his employment with

Zapata ended on September 30, 2022, and he was not an employee in February 2023 or thereafter

when commission payments allegedly would have come due. See generally Dkt. 67 at 11–12.

That is, according to Defendants, “the Wage Act does not apply to any period of time when

Plaintiff was not an employee.” Id. at 12.

         As noted, however, “[w]here an employee has already done the work to earn a commission

prior to their resignation [or termination], . . . the Wage Act requires the payment of that

commission.” Rivard, 2023 WL 5959305, at *6. Viewing the record in the light most favorable

to Plaintiff and drawing all reasonable inferences in his favor, a factfinder could conclude that

Plaintiff had already done the work to earn the commissions at issue while he was still an

employee. 8

                                    iii.     Whether the Payments Were Definitely Determined,
                                             Due, and Payable

         Defendants next argue that “[a]t the time [Plaintiff] ceased employment with Zapata, the

potential commissions were not due and payable, as the customers had not yet paid,” and that “[f]or


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           The Court does not conclude, as Plaintiff has asked it to do, that the March 2022 Plan applies because of
allegations in Zapata’s counterclaim.
         8
          To the extent Defendants argue that the March 2022 Plan “states that commissions were not earned until
after ‘payment from the client,’” Dkt. 78 at 6, that overstates the language of the contract, which concerns the timing
of payouts. That is, the contract specifies when commissions would be paid to Plaintiff—not that the commissions
would be “earned” only once the client had paid.



                                                         11
       Case 1:23-cv-13197-BEM                 Document 89            Filed 06/02/25         Page 12 of 21




the same reason, they could not be definitely determined.” Dkt. 67 at 12. The Wage Act, however,

“is silent as to when a commission must satisfy the stated requirements.” Parker, 484 Mass. at

134 n.10. And in Parker, the Supreme Judicial Court expressly stated that it did “not agree with

th[e] interpretation” that the plaintiff’s commissions must have been “due and payable” and

“definitely determined” as of her last day of employment. Id.; see also id. at 134 (“[A]lthough the

plaintiff’s commission never became due and payable pursuant to the true-up policy during her

employment, it is, nevertheless, a ‘lost wage’ under the act subject to trebling.”); Dodge, 575

F. Supp. 3d at 240 (relying on Parker to reject the argument of the defendant “that because the

commission that [the plaintiff] seeks was not definitely determined and due and payable at the time

of his termination, it is not subject to the statutory protection of the [Wage Act]”); McAleer, 928

F. Supp. 2d at 289 (reasoning, on a motion to dismiss, that “any sales McAleer closed while

employed at Prudential may have been earned, and could have been due and payable, at the time

of the closing, even if Prudential did not receive the premiums until after it terminated McAleer’s

employment”). Viewing the record in the light most favorable to Plaintiff and drawing all

reasonable inferences in his favor, a factfinder could conclude that, pursuant to the terms of the

March 2022 Plan, the commissions may have been earned, and could have been due and payable,

at the time Plaintiff closed the deals, even if Zapata did not receive payment from the clients until

after Plaintiff was no longer employed. 9




         9
           Nor does the existence of the Separation Agreement alter this conclusion. Although Defendants assert that
the Separation Agreement superseded any prior commission plans, Dkt. 67 at 10, this Court notes, as Zapata itself
alleged in its Counterclaim, that “the Separation Agreement anticipated that Warren would continue to receive
‘commissions,’ payments related to work performed by Warren prior to September 30, 2022, following the end of
Warren’s employment with Zapata,” Dkt. 22 ¶ 23; see also Dkt. 18 (observing, in Order denying motion to dismiss,
that “[p]aragraph 4 of the Separation Agreement seemingly confirms Warren’s continued entitlement to ‘commissions
already earned,’ which ‘will continue to be paid in the last payroll of the month following payment from the customer’”
(quoting Dkt. 12-4 ¶ 4)).



                                                         12
       Case 1:23-cv-13197-BEM                  Document 89            Filed 06/02/25          Page 13 of 21




          Accordingly, Defendants’ motion for summary judgment as to the Wage Act claim is

denied.

                           c.        Plaintiff’s Motion

          Plaintiff has cross-moved for summary judgment on his Wage Act claim, asserting that

there is no genuine issue of material fact as to his entitlement to outstanding commission payments.

Dkt. 73 at 1. 10

          As the First Circuit has cautioned, however, “a commission plan may incorporate other

contingencies that must be met before a commission is due and payable — and if those

contingencies are not met, the commissions do not become wages protected by the Wage Act.”

Klauber v. VMware, Inc., 80 F.4th 1, 13 (1st Cir. 2023); see also id. (“Commissions are not

necessarily due and payable simply because ‘an employee has completed work on the deal.’”).

“Continued employment has been identified as a permissible contingency that must be satisfied

for a commission to be deemed due and payable.” Fine v. Guardian Life Ins. Co. of Am., 589 F.

Supp. 3d 139, 152 (D. Mass. 2022).

          Here, as noted, there is a disputed question of fact as to whether the parties “intended to be

bound to a contract under the terms set forth in their [April 2022] e-mail correspondence,” see

Astellas, 458 F. Supp. 3d at 109, which set forth continued employment as a required contingency.

Viewing the record in the light most favorable to Defendants and drawing all reasonable inferences




          10
             To the extent Plaintiff now contends that he is also entitled to summary judgment on his Wage Act claim
based on Zapata’s prior late payment, see generally Dkt. 74 at 15–17, rather than due to non-payment, Plaintiff has
previously argued—and the Court accepted when ruling on the motion to dismiss—that his “Wage Act claim did not
yet exist at the time he entered into the Separation Agreement,” and that “[i]t did not come into existence until several
months later, when Defendants unilaterally decided to stop making commission payments to Warren.” Dkt. 16 at 5;
Dkt. 18 (denying motion to dismiss and observing that “the Wage Act violation alleged in Count I did not arise until
. . . February of 2023, when defendants allegedly stopped paying him the commissions which he had already earned”).
Accordingly, Plaintiff is judicially estopped from arguing a Wage Act violation due to a late payment.



                                                          13
       Case 1:23-cv-13197-BEM                 Document 89            Filed 06/02/25         Page 14 of 21




in their favor, a factfinder could conclude that Plaintiff had assented to be bound by the April 2022

Plan, and that the commissions were not, therefore, “due and payable.” 11

         Accordingly, Plaintiff’s motion for summary judgment on his Wage Act claim is denied.

                  2.       Breach of Contract Claim (Count 2)

         Zapata has also moved for summary judgment on Count 2 of the Amended Complaint,

asserting that Plaintiff cannot make out a claim for “stock options,” “consulting fees,” or

“commissions.” Dkt. 69 at 4. Each will be addressed in turn.

                           a.       Options

         Count 2 alleges, in part, that “Zapata breached its contractual duties under the Separation

Agreement by designating Warren’s stock options as forfeited when it unlawfully terminated the

Consulting Agreement and, by extension, the Separation Agreement.” Dkt. 12 (“Am. Compl.”)

¶ 68. Zapata has asserted that “Plaintiff’s contract claim for stock options should be dismissed

because any such equity has no value.” Dkt. 69 at 4. That is, according to Zapata, Plaintiff has

acknowledged that any options he had, or may have had, in Zapata are now worthless, and because

Plaintiff did not incur any damages with respect to his stock options, any such claim fails. Id.

         Yet Zapata itself concedes—and the Court takes judicial notice of the fact—that Zapata’s

stock is worth a non-zero amount. See Dkt. 86 at 8 (“The Court may take judicial notice of Zapata’s

stock price . . . as of the date of this Reply, it is currently trading for less than a penny




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            To the extent Plaintiff argues that the April 2022 Plan cannot apply to the three deals at issue because it
would be a “special contract” prohibited by the Wage Act, see Mass. Gen. Laws ch. 149, § 148 (providing that “[n]o
person shall by a special contract with an employee or by any other means exempt himself from” the Wage Act),
“Massachusetts courts have been consentient in holding that the special contract provision only bars agreements to
exempt wages from the prophylaxis of the Wage Act,” Klauber, 80 F.4th at 13 (emphasis added). As noted, “a
commission plan may incorporate other contingencies that must be met before a commission is due and
payable”—such as continued employment—“and if those contingencies are not met, the commissions do not become
wages protected by the Wage Act.” See Klauber, 80 F.4th at 13. That is, “if compensation does not qualify as wages
under the Wage Act, the special contract provision does not apply at all.” Id. at 14.



                                                         14
       Case 1:23-cv-13197-BEM                      Document 89           Filed 06/02/25          Page 15 of 21




($0.0024).”). 12 Accordingly, Zapata is not entitled to summary judgment on Count 2 with respect

to the options.

                                b.       Consulting Fees

           Count 2 of the Amended Complaint alleges, in part, that “Zapata breached its contractual

duties under the Consulting Agreement by failing to pay Warren his consulting fees between

February 2023 and the remainder of the consultation period as defined therein.” Am. Compl. ¶ 69.

Zapata contends that there was no breach of any agreement for consulting fees, and Plaintiff did

not suffer any damages related to same. Dkt. 69 at 4. Zapata further asserts that because Plaintiff

began working for Q-CTRL on February 2, 2023, making more than the $2,000 per month

consulting fee, he fully mitigated his damages and therefore cannot state a claim for unpaid

consulting fees. Id.

           As noted, the Consulting Agreement provides that it “may be terminated . . . by either party

upon written notice to the other party.” Dkt. 77 ¶ 68. It is undisputed that Zapata provided written

notice to Plaintiff on February 2, 2023, that it was terminating the Consulting Agreement. Id. ¶ 76.

Because the Consulting Agreement was terminated in accordance with its terms, Plaintiff was not

entitled to any consulting fees after February 2, 2023. 13

           Accordingly, Zapata is entitled to summary judgment on Count 2 with respect to any

consulting fees that would otherwise have been due to Plaintiff after February 2, 2023.




            See Wang Yan v. ReWalk Robotics Ltd., 330 F. Supp. 3d 555, 563 n.3 (D. Mass. 2018) (taking judicial
           12

notice of publicly traded stock price), aff’d sub nom. Yan v. ReWalk Robotics Ltd., 973 F.3d 22 (1st Cir. 2020).
           13
                Plaintiff did not appear to assert, in opposition, that he incurred unpaid consulting fees on February 1 and
2, 2023.



                                                              15
      Case 1:23-cv-13197-BEM            Document 89       Filed 06/02/25    Page 16 of 21




                        c.      Commissions

        Count 2 of the Amended Complaint alleges, in part, that “Zapata breached its contractual

duties under both the Compensation Plan and the Separation Agreement by failing to pay Warren

his commissions.” Am. Compl. ¶ 70. Zapata argues that “Plaintiff’s breach of contract . . . claims

for purported commissions should be dismissed because the April 2022 Compensation Plan applies

here, and because Zapata complied with the terms of that plan.” Dkt. 86 at 8.

        Zapata’s “motion for summary judgment on [Plaintiff’s] breach of contract claim rests on

the same disputed facts” as those at issue in the Wage Act claim. Ellicott v. Am. Cap. Energy,

Inc., 2016 WL 7799635, at *6 (D. Mass. Apr. 28, 2016). “In short, the issue of whether [Zapata]

violated the terms of [Plaintiff’s] compensation plan by failing to pay him his earned commissions

is a question of fact properly deferred for trial.” Id.

        Accordingly, Zapata is not entitled to summary judgment on Count 2 with respect to the

commissions.

                3.      Unjust Enrichment and Quantum Meruit Claims (Counts 3 and 4)

        All Defendants have moved for summary judgment on Counts 3 and 4 of the Amended

Complaint. “Under Massachusetts law, claims for quantum meruit and unjust enrichment are

treated similarly and have the same elements.” BRT Mgmt. LLC v. Malden Storage, LLC, 2021

WL 4133298, at *21 (D. Mass. Sept. 10, 2021). “For a plaintiff to recover on a theory of quantum

meruit or unjust enrichment, he must show ‘(1) a benefit conferred upon the defendant by the

plaintiff; (2) an appreciation or knowledge by the defendant of the benefit; and (3) acceptance or

retention by the defendant of the benefit under the circumstances [that] would be inequitable

without payment for its value.’” Id. (alteration in original) (quoting Massachusetts Eye & Ear

Infirmary v. QLT Phototherapeutics, Inc., 552 F.3d 47, 57 (1st Cir. 2009)). “A plaintiff is not

entitled to recovery on an unjust-enrichment or quantum-meruit theory where there is a valid


                                                  16
       Case 1:23-cv-13197-BEM                Document 89           Filed 06/02/25          Page 17 of 21




contract that covers the same subject matter and defines the obligations of the parties.” Guldseth

v. Fam. Med. Assocs. LLC, 45 F.4th 526, 541 (1st Cir. 2022) (citing Bos. Med. Ctr. Corp. v. Sec’y

of Exec. Off. of Health & Hum. Servs., 463 Mass. 447, 467 (2012)).

        Plaintiff acknowledges the rule of Boston Medical Center, but argues that “[w]ere the Court

to find that some of the services [Plaintiff] provided to Defendants were not provided under a valid

contract, yet provided to Defendants nonetheless, and he was deprived of compensation for same,

then [his] quantum meruit and unjust enrichment claims need not be dismissed.” Dkt. 76 at 13. In

support of that argument, Plaintiff cites to America’s Growth Capital, LLC v. PFIP, LLC, 73 F.

Supp. 3d 127 (D. Mass. 2014), in which the court reasoned that where “a party accepts gratuitous

services outside of a contractual relationship, the rule of Boston Medical Center does not apply.”

Id. at 153 n.192. Here, however, although the parties disagree as to which contracts apply, there

is no evidence that gratuitous services were provided outside of any contractual relationship. 14

        Accordingly, Defendants are entitled to summary judgment on Counts 3 and 4 of the

Amended Complaint.

                 4.       Breach of the Implied Covenant Claim (Count 5)

        Zapata has moved for summary judgment on Count 5 of the Amended Complaint, asserting

that because it complied with the terms of the relevant agreements, Plaintiff’s claim of a breach of

the implied covenant claim fails.

        “Under Massachusetts law, a covenant of good faith and fair dealing is implied in every

contract.” Robert Reiser & Co. v. Scriven, 130 F. Supp. 3d 488, 495 (D. Mass. 2015). “The

covenant provides that ‘neither party shall do anything that will have the effect of destroying or



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             At oral argument, Plaintiff conceded that the unjust enrichment and quantum meruit claims were arguments
in the alternative.



                                                        17
      Case 1:23-cv-13197-BEM            Document 89        Filed 06/02/25      Page 18 of 21




injuring the rights of the other party to receive the fruits of the contract.’” Id. (quoting Anthony’s

Pier Four, Inc. v. HBC Assocs., 411 Mass. 451, 471 (1991)). “The implied covenant may not,

however, be invoked to create rights and duties not contemplated by the provisions of the contract

or the contractual relationship.” Hampshire House Corp. v. Fireman’s Fund Ins. Co., 557 F. Supp.

3d 284, 299 (D. Mass. 2021).

       Here, “[b]ecause the breach of contract claim survives the summary judgment phase, the

count alleging a breach of the covenant of fair dealing does as well.” Doe v. Johnson & Wales

Univ., 425 F. Supp. 3d 108, 114 (D.R.I. 2019). Accordingly, Zapata’s motion for summary

judgment as to Count 5 is denied.

               5.      Declaratory Relief Claim (Count 6)

       Count 6 of the Amended Complaint seeks a judicial declaration “that Zapata’s failure to

comply with the Massachusetts Noncompetition Agreement Act renders void the restrictive

covenants set forth in the Consulting Agreement,” and a judicial declaration “that Warren is

thereafter not bound by any restrictive covenant with regard to Zapata.” Am. Compl. ¶¶ 87–88.

Zapata has moved for summary judgment on that Count, asserting that Plaintiff’s declaratory

judgment case is moot. Dkt. 68 at 2.

       “It is ordinarily true that a challenge to a contract becomes moot upon that contract’s

expiration.” Am. C.L. Union of Massachusetts v. U.S. Conf. of Cath. Bishops, 705 F.3d 44, 53 (1st

Cir. 2013); see also id. (“Once a contract has expired, and the obligations between its signatories

have ended, and if no damages are sought, the parties usually do not have a legally cognizable

interest in the case’s outcome.”). Here, the covenants at issue have expired. Plaintiff has offered

no argument as to why Count 6 should not be dismissed as moot, and the Court sees none.

       Accordingly, summary judgment is granted as to Count 6.




                                                 18
      Case 1:23-cv-13197-BEM          Document 89       Filed 06/02/25     Page 19 of 21




       B.     Zapata’s Counterclaims (Counterclaims 1–3, 7)

       Plaintiff has also moved for summary judgment on Zapata’s breach of contract

counterclaims against him (Counterclaims 1–3 and 7), on the grounds that those claims are

predicated on an unenforceable noncompetition agreement and Zapata has not established any

damages that it suffered. Each is addressed in turn below.

                      a.      The NDNCA (Counterclaims 1 and 2)

       Plaintiff argues, at the outset, that only the “non-conflict” provision of the Consulting

Agreement is relevant, as the Consulting Agreement superseded any prior agreements between

Zapata and himself relating to non-competition and non-conflict, including the NDNCA. See

generally Dkt. 74 at 18–19.

       While it is true that the Consulting Agreement states that it “constitute[s] the entire

agreement between the parties and supersedes all prior agreements and understandings, whether

written or oral, relating to the subject matter of this Agreement,” Dkt. 77 ¶ 69, the Consulting

Agreement was an exhibit to the Separation Agreement, which provided that “[y]ou remain bound

by, and will continue to abide by, the Employee Confidential Information and Inventions

Assignment Agreement executed by you on April 9, 2018,” Dkt. 12-4 at 3.

       Although Zapata concedes that the parties used the incorrect title to refer to the NDNCA,

Dkt. 79 at 10, Zapata asserts that the only document Plaintiff executed on April 9, 2018, is the

NDNCA, id., and that Plaintiff testified that the NDNCA was his “confidential information and

inventions assignment agreement,” id. (citing Warren Dep. 62).        Accordingly, drawing all

inferences in favor of Zapata, the non-moving party, the Court does not conclude, for purposes of

summary judgment, that the NDNCA was superseded by the later agreements.

       The Court next considers the argument that “Zapata has failed to identify any damage it

has sustained as a result of Warren joining Q-CTRL.” Dkt. 74 at 21. Although the evidence Zapata


                                               19
      Case 1:23-cv-13197-BEM          Document 89        Filed 06/02/25      Page 20 of 21




has put forth regarding its alleged damages is admittedly not overwhelming, it is enough to raise a

material question of fact that makes summary judgment on that basis inappropriate.

       Summary judgment is therefore denied as to Counterclaims 1 and 2.

                      b.      The Consulting and Separation Agreements (Counterclaims 3
                              and 7)

       Defendants have argued that “[t]he Separation Agreement and the Consulting Agreement

are one contract.” Dkt. 79 at 9. Accordingly, the Court will analyze Counterclaims 3 and 7

together. See generally Dkt. 79 at 11–12 (analyzing Counterclaims 3 and 7 together).

       These agreements do not comply with the terms of the Massachusetts Noncompetition

Agreement Act (“MNAA”), Mass. Gen. Laws ch. 149, § 24L. That act “governs the enforceability

of noncompetition agreements, like [Plaintiff]’s, entered into on or after October 1, 2018.”

DraftKings Inc. v. Hermalyn, 732 F. Supp. 3d 84, 109 (D. Mass. 2024), aff’d, 118 F.4th 416 (1st

Cir. 2024). “[T]he MNAA requires noncompetition agreements to ‘expressly state that the

employee has the right to consult with counsel prior to signing.’” Cynosure LLC v. Reveal Lasers

LLC, 2022 WL 18033055, at *9 (D. Mass. Nov. 9, 2022) (quoting Mass. Gen. Laws ch. 149, §

24L(b)(i)). Here, the Separation and Consulting Agreements did not do so, and Plaintiff’s non-

competition obligations are therefore unenforceable.

       Accordingly, the motion for summary judgment is granted as to Counterclaims 3 and 7

with respect to Plaintiff’s non-competition obligations under those agreements.         See KPM

Analytics N. Am. Corp. v. Blue Sun Sci., LLC, 2021 WL 2982866, at *32 (D. Mass. July 15, 2021)

(granting motion to dismiss breach of contract claim arising out of non-competition agreement




                                                20
       Case 1:23-cv-13197-BEM                Document 89           Filed 06/02/25          Page 21 of 21




where the agreement did not expressly state that the employee had the right to consult with counsel

prior to signing). 15

IV.     Conclusion

        For the foregoing reasons, Plaintiff’s motion for summary judgment (Dkt. 73) is

GRANTED IN PART and DENIED IN PART; the Individual Defendants’ motion for summary

judgment (Dkt. 66) is GRANTED IN PART and DENIED IN PART; and Zapata’s motion for

summary judgment (Dkt. 68) is GRANTED IN PART and DENIED IN PART.

So Ordered.

                                                          /s/ Brian E. Murphy
                                                          Brian E. Murphy
Dated: June 2, 2025                                       Judge, United States District Court




        15
           The Court does not grant the motion to the extent those agreements set forth non-solicitation obligations.
See Automile Holdings, LLC v. McGovern, 483 Mass. 797, 807 n.15 (2020) (“By its terms, the [MNAA] does not
apply to nonsolicitation agreements.”); see also NuVasive, Inc. v. Day, 954 F.3d 439, 444 (1st Cir. 2020) (same).



                                                        21
